B256 Subpoena in a Case under the Bankruptcy Code




                                               United States Bankruptcy Court
                                     EASTERN                      DISTRICT OF                  MICHIGAN



In Re:      Kevin Roland Iott and                                                 SUBPOENA IN A CASE UNDER
            Lau ra Sue Iott,                                                      THE BANKRUPTCY CODE
                                    Debtor(s).

                                                                                  Case No.        09-48174 SWR

To:         Kevin Roland Iott and
            Lau ra Sue Iott
                                                                                  Chapter           7



G      YOU ARE COMMANDED to appear in the United States Bankruptcy Court at the place, date, and time specified below to
testify in the above case.
  PLACE                                                                                            COURTROOM


                                                                                                   DATE AND TIME




G   YOU ARE COMMANDED to appear at the place, date, and time specified below to testify at the taking of a deposition in the
above case.
  PLACE                                                                                            DATE AND TIME




O     YOU ARE COMMANDED to produce and permit inspection and copying of the following documents or objects at the place,
date, and time specified below (list documents or objects):

            -           2010 personal and business tax returns.



  PLACE                                                                                            DATE AND TIME

  Office of Schneider Miller, P.C., 3900 Penobscot Building, 645 Griswold, Detroit, MI 48226       Within thirty (30) days




G      YOU ARE COMMANDED to permit inspection of the following premises at date and time specified.
  PREMISES                                                                                         DATE AND TIME



          Any subpoenaed organization not a party to this proceeding shall designate one or more officers, directors, or managing agents, or other
persons who consent to testify on its behalf, and may set forth, for each person designated, the matters on which the person will testify, Fed. R. Civ.
P. 30(b)(6) made applicable to this proceeding by Rule 7030, Fed. R. Bankr. P. See Rules 1018 and 9014, Fed. R. Bankr. P.


  ISSUING OFFICER SIGNATURE AND TITLE                                                              DATE

      /s/ Kenneth M. Schneider        (P-31963)           Attorney for Trustee                          May 11, 2011
ISSUING OFFICER’S NAME, ADDRESS AND PHONE NUMBER

Kenneth M. Schneider, 3900 Penobscot Building, 645 Griswold Street, Detroit, MI 48226 (313) 237-0850
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________________________________________________________________________________________________________
                                           PROOF OF SERVICE

                                              DATE                  PLACE
                                                                            5670 Sylvania Petersberg Road, Petersberg, MI 49070 and
  SERVED                                      5/11/2011             260 Franklin Center, 29100 Northwestern Hay., Southfield, MI 48034

  SERVED ON (PRINT NAME)                                                       MANNER OF SERVICE

  Kevin R. Iott, Laura S. Iott and                                             First Class Mail
  Kenneth A. Nathan, Esq., attorney for Debtors

  SERVED BY (PRINT NAME)                                                       TITLE

  E. Joyce W hoolery                                 Legal Secre tary
                                        DECLARATION OF SERVER
________________________________________________________________________________________________________

         I declare under penalty of perjury under the laws of the United States of America that the foregoing information contained
in the Proof of Service of Service is true and correct.

Executed on 5/11/2011                                                                           /s/ E. Joyce Whoolery
               Date                                                                            SIGNATURE OF SERVER

                                                                                                 645 Griswold Street, Suite 3900

                                                                 Detroit, MI 48226
________________________________________________________________________________________________________
Rule 45, Fed.R.Civ.P., Parts (c) & (d) made applicable in cases under the Bankruptcy Code by Rule 9016, Fed.R.Bankr.P.

(c)   PROTECTION OF PERSONS SUBJECT TO SUBPOENAS.

   (1) A party or an attorney responsible for the issuance and service                       matter and no exception or waiver applies, or
of a subpoena shall take reasonable steps to avoid imposing undue                               (iv) subjects a person to undue burden.
burden or expense on a person subject to that subpoena. The court on
behalf of which the subpoena was issued shall enforce this duty and               (B) If a subpoena
impose upon the party or attorney in breach of this duty an appropriate
sanction, which may include, but is not limited to, lost earnings and a                            (i) requires disclosure of a trade secret or other
reasonable attorney’s fee.                                                                   confidential research, development, or commercial
                                                                                             information, or
  (2)(A) A person commanded to produce and permit inspection and                                  (ii) requires disclosure of an unretained expert’s opinion
copying of designated books, papers, documents or tangible things, or                        or information not describing specific events or occurrences
inspection of premises need not appear in person at the place of                             in dispute and resulting from the expert’s study made not at
production or inspection unless commanded to appear for deposition,                          the request of any party, or
hearing or trial.                                                                                 (iii) requires a person who is not a party or an officer of
                                                                                             a party to incur substantial expense to travel more than 100
    (B) Subject to paragraph (d)(2) of this rule, a person commanded                         miles to attend trial, the court may, to protect a person
to produce and permit inspection and copying may, within 14 days after                       subject to or affected by the subpoena, quash or modify the
service of the subpoena or before the time specified for compliance if                       subpoena or, if the party in whose behalf the subpoena is
such time is less than 14 days after service, serve upon the party or                        issued shows a substantial need for the testimony or
attorney designated in the subpoena written objection to inspection or                       material that cannot be otherwise met without undue
copying of any or all of the designated materials or of the premises. If                     hardship and assures that the person to whom the subpoena
objection is made, the party serving the subpoena shall not be entitled                      is addressed will be reasonably compensated, the court may
to inspect and copy the materials or inspect the premises except                             order appearance or production only upon specified
pursuant to an order of the court by which the subpoena was issued.                          conditions.
If objection has been made, the party serving the subpoena may, upon
notice to the person commanded to produce, move at any time for an                (d) DUTIES IN RESPONDING TO SUBPOENA.
order to compel the production. Such an order to compel production
shall protect any person who is not a party or an officer of a party from           (1) A person responding to a subpoena to produce documents shall
significant expense resulting from the inspection and copying                     produce them as they are kept in the usual course of business or shall
commanded.                                                                        organize and label them to correspond with the categories in the
                                                                                  demand.
  (3)(A) On timely motion, the court by which a subpoena was issued
shall quash or modify the subpoena if it                                             (2) When information subject to a subpoena is withheld on a claim
                                                                                  that it is privileged or subject to protection as trial preparation materials,
                 (i) fails to allow reasonable time for compliance;               the claim shall be made expressly and shall be supported by a
                (ii) requires a person who is not a party or an officer of a      description of the nature of the documents, communications, or things
            party to travel to a place more than 100 miles from the place         not produced that is sufficient to enable the demanding party to contest
            where that person resides, is employed or regularly                   the claim.
            transacts business in person, except that, subject to the
            provisions of clause (c)(3)(B)(iii) of this rule, such a person
            may in order to attend trial be commanded to travel from any
            such place within the state in which the trial is held; or
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                  (iii) requires disclosure       62 Filed
                                            of privileged or other05/11/11
                                                                   protected   Entered 05/11/11 14:50:50                       Page 2 of 2
